4:13-cr-03130-JMG-CRZ    Doc # 541   Filed: 10/31/16   Page 1 of 7 - Page ID # 2298




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.
                                             MEMORANDUM AND ORDER
RAMON GARCIA,

                  Defendant.

      This matter is before the Court upon initial review of the pro se motion
to vacate under 28 U.S.C. § 2255 (filing 509) filed by the defendant, Ramon
Garcia. The motion was timely filed less than 1 year after the defendant's
conviction became final. See § 2255(f). The Court's initial review is governed
by Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United
States District Courts, which provides:

      The judge who receives the motion must promptly examine it. If
      it plainly appears from the motion, any attached exhibits, and the
      record of prior proceedings that the moving party is not entitled
      to relief, the judge must dismiss the motion and direct the clerk
      to notify the moving party. If the motion is not dismissed, the
      judge must order the United States attorney to file an answer,
      motion, or other response within a fixed time, or to take other
      action the judge may order.

       A § 2255 movant is entitled to an evidentiary hearing unless the motion
and the files and records of the case conclusively show that the movant is
entitled to no relief. § 2255(b); Sinisterra v. United States, 600 F.3d 900, 906
(8th Cir. 2010). Accordingly, a motion to vacate under § 2255 may be
summarily dismissed without a hearing if (1) the movant's allegations,
accepted as true, would not entitle the movant to relief, or (2) the allegations
cannot be accepted as true because they are contradicted by the record,
inherently incredible, or conclusions rather than statements of fact. Engelen
v. United States, 68 F.3d 238, 240 (8th Cir. 1995); see also Sinisterra, 600
F.3d at 906.
4:13-cr-03130-JMG-CRZ   Doc # 541   Filed: 10/31/16   Page 2 of 7 - Page ID # 2299




                                BACKGROUND
       The defendant was charged with a single count of conspiring to
distribute 500 grams or more of a mixture containing methamphetamine, in
violation of 21 U.S.C. § 841. Filing 6. He petitioned to plead guilty,
acknowledging in his petition that he faced a mandatory minimum of 10
years' imprisonment, and up to a life sentence. Filing 57 at 6. And at his
change of plea hearing, he was advised—and said that he understood—that
he would be sentenced to at least 10 years' imprisonment and possible life
imprisonment. Filing 105 at 5-6, 10. He was also advised regarding the
sentencing guidelines, and that the sentencing court would consider "such
things as how much drugs were involved" and "whether [he] played a
leadership or managerial role in the sale of drugs[.]" Filing 105 at 10-11.
Again, he said he understood. Filing 105 at 11. And he pled guilty to the
charge against him. Filing 105 at 22.
       The presentence report found that the defendant was accountable for
34.5 kilograms of methamphetamine mixture, resulting in a base offense
level of 38. Filing 174 at 10. The presentence report also found that the
defendant was a manager or supervisor of the conspiracy, and had
maintained a premises for the purpose of manufacturing or distributing a
controlled substance, enhancing the offense level. Filing 174 at 10. The
defendant, through counsel, objected to those aspects of the presentence
report. Filing 140. As a result of that objection, the Court held a 2-day
sentencing hearing, receiving several exhibits and hearing testimony from six
witnesses. Filing 169; filing 170; filing 208. Based on the evidence, the Court
overruled the defendant's objections. Filing 208 at 208-216. The Court found
a total offense level of 40 and a guideline range of 292 to 365 months, and
sentenced the defendant to 292 months' imprisonment. Filing 177 at 2; filing
178 at 1.
       The defendant, through counsel, appealed to the Eighth Circuit. Filing
181. The Court of Appeals affirmed the Court's judgment. United States v.
Garcia, 774 F.3d 472 (8th Cir. 2014).

                                DISCUSSION
      The defendant claims that his counsel was constitutionally ineffective.
To establish a claim of ineffective assistance of counsel, the defendant must
show that his attorney's performance was deficient and that this prejudiced
his defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). Deficient
performance can be shown by demonstrating that counsel's performance fell
below an objective standard of reasonableness. Id. at 688. However, the
Court's scrutiny of counsel's performance is highly deferential, because the



                                     -2-
4:13-cr-03130-JMG-CRZ        Doc # 541     Filed: 10/31/16     Page 3 of 7 - Page ID # 2300




Court must indulge a strong presumption that counsel's conduct falls within
the wide range of reasonable professional assistance. Id. at 689.
       To satisfy the prejudice prong of Strickland, the defendant must show
that counsel's error actually had an adverse effect on the defense. Gregg v.
United States, 683 F.3d 941, 944 (8th Cir. 2012). The defendant must do more
than show that the errors had some conceivable effect on the outcome of the
proceeding. Id. Rather, the defendant must show that there is a reasonable
probability that, but for counsel's unprofessional errors, the result of the
proceeding would have been different. Id. A "reasonable probability" is less
than "more likely than not," but it is more than a possibility; it must be
sufficient to undermine confidence in the outcome of the case. Paul v. United
States, 534 F.3d 832, 837 (8th Cir. 2008).
       In the context of a challenge to a guilty plea, the deficient performance
and prejudice are demonstrated if the defendant can prove that (1) his
counsel's representation fell below an objective standard of reasonableness,
and (2) there is a reasonable probability that, but for counsel's alleged errors,
he would not have pleaded guilty and would have insisted on going to trial.
Hill v. Lockhart, 474 U.S. 52, 58-60 (1985); Tinajero-Ortiz v. United States,
635 F.3d 1100, 1103 (8th Cir. 2011).
       The defendant raises two separate ineffective assistance of counsel
claims: he asserts that counsel was ineffective (1) in failing to object to the
Court's drug quantity determination, and (2) failing to assert a policy-based
motion for variance from the Sentencing Guidelines. Filing 509 at 35, 46. The
Court finds no merit to either claim.1

                       DRUG QUANTITY DETERMINATION
      The defendant contends that counsel was ineffective in "failing to object
to the District Court's drug quantity determination in violation of subsection
1B1.3 (a)(2) (Relevant Conduct) and 2D1.1, application note 12 . . . ." Filing
509 at 35. He complains that the Court's drug quantity calculation was
wrong, because he was held responsible for the entire conspiracy, and that
"[c]ounsel provided deficient performance by not requesting a finding of a


1 The defendant also suggests, in passing, that counsel did not petition for certiorari from

the Supreme Court, despite being asked to do so. Filing 509 at 29. To the extent that the
defendant is claiming this was ineffective assistance, the claim is without merit: the
defendant had no right to assistance of counsel in filing a certiorari petition in the Supreme
Court. Steele v. United States, 518 F.3d 986, 988 (8th Cir. 2008). And even if counsel had
performed deficiently, in order to prove prejudice the defendant would have to establish a
reasonable probability that a writ of certiorari would have issued and that he would have
obtained relief from his sentence. Id. at 988-89. He has not alleged the existence of a cert-
worthy issue, much less one on which he had any reasonable likelihood of prevailing. See id.


                                            -3-
4:13-cr-03130-JMG-CRZ   Doc # 541   Filed: 10/31/16   Page 4 of 7 - Page ID # 2301




specific amount of drugs so Defendant's relevant conduct could be properly
measured." Filing 509 at 35. And he says that "counsel did not zealously
defend Defendant's position as a gram and ounce dealer of methamphetamine
. . . ." Filing 509 at 39.
         The obvious problem with this claim is that counsel did object to the
drug quantity determination. Counsel held the government to its burden of
proof, and aggressively asserted the defendant's position during a 2-day
sentencing hearing. The Court simply found the government's evidence
persuasive. But the Court can find no deficiency in counsel's performance.
         The defendant's argument with respect to the drug quantity for which
he was responsible seems to be based on a misunderstanding of the law. He
asserts that the Court "should have found a specific number of kilograms of
methamphetamine involved in this conspiracy and then find responsibility
among the co-conspirators because by stating the conspiracy involved 15
kilograms or more allows the government to hold everyone accountable for
these amount of drugs." Filing 509 at 35. He contends that just because he
"was involved in a conspiracy it does not follow that he should be held
responsible for the entire amount of drugs that were attributed to the scope of
the conspiracy." Filing 509 at 36.
         The Court agrees that a member of a drug conspiracy is only
responsible for all reasonably foreseeable actions of a conspiracy. United
States v. Yellow Horse, 774 F.3d 493, 497 (8th Cir. 2014). But that was
precisely what the Court found at sentencing, explaining that:

      Now, as to my findings and rulings with respect to each of the
      defendant's objections, the first objection -- with respect to the
      defendant's first objection, drug quantity determinations under
      Guideline Section 2D1.1, in a drug conspiracy a defendant is held
      responsible for all reasonable foreseeable drug quantities that
      were within the scope of the criminal activity that he jointly
      undertook. The following findings that I'm going to make are
      made by a preponderance of the evidence in that the activity
      involving this methamphetamine was clearly in furtherance of
      the conspiracy that the defendant has pled guilty to and the
      quantities of the methamphetamine were either known to the
      defendant or certainly they were reasonably foreseeable to him.




                                     -4-
4:13-cr-03130-JMG-CRZ        Doc # 541     Filed: 10/31/16    Page 5 of 7 - Page ID # 2302




Filing 208 at 209. The defendant may disagree with those findings,2 but he
has not shown what, if anything, his counsel should have done differently,
nor has he shown any resulting prejudice.
      The only particular deficiency the defendant points to is counsel's
failure to provide the probation office with a version of the offense. Filing 509
at 38-39; see filing 174 at 7. He argues that

       [f]urnishing the probation office with defense's calculations of the
       drug amounts as the amounts reasonably foreseeable to
       Defendant, in this conspiracy, would be in opposition to the
       government's drug amounts. The probation office could then
       bring to this Honorable Court's attention the Defense's position
       and make findings accordingly. Counsel was deficient in not
       including this very important document of version of facts to
       Defendant's presentence report.

Filing 509 at 38-39. But that is no basis for relief: even if that was deficient
performance, the defendant was not prejudiced when the Court's
determination as to drug quantity was based, not on the presentence report,
but on the substantial body of evidence presented at the sentencing hearing.
Furthermore, if the defendant had a version of the offense that he thought
should have been presented, he had the opportunity to address the Court at
sentencing, which he declined. Filing 208 at 222.
      The defendant also suggests that counsel misled him into believing that
he was pleading guilty to 500 grams to 1.5 kilograms of methamphetamine.
Filing 509 at 40. But that is the charge he was pleading guilty to. And at his
change of plea hearing, as described above, the possible sentences for that
offense were clearly explained to him. To the extent that the defendant might
be implying that his guilty plea resulted from ineffective assistance of
counsel, that claim is without merit: even if counsel gave the defendant the

2 Although initially couched in terms of ineffective assistance of counsel, much of the
defendant's motion seems to be questioning the Court's actual findings of fact at sentencing.
To the extent that the defendant is attempting to assert sentencing error, that claim is
without merit for three reasons. First, the Court's findings of fact were consistent with the
law and supported by the evidence. Second, the alleged insufficiency of the evidence
regarding drug quantity was raised in the Eighth Circuit and rejected by that court, and
claims which were raised and decided on direct appeal cannot be relitigated on a motion to
vacate pursuant to § 2255. Davis v. United States, 673 F.3d 849, 852 (8th Cir. 2012); see
United States v. Lee, 715 F.3d 215, 224 (8th Cir. 2013). And finally, sentencing error is not
cognizable under § 2255 unless the sentence is in excess of that authorized by law, i.e.,
imposed without, or in excess of, statutory authority. Sun Bear v. United States, 644 F.3d
700, 704-06 (8th Cir. 2011) (en banc).


                                            -5-
4:13-cr-03130-JMG-CRZ    Doc # 541   Filed: 10/31/16   Page 6 of 7 - Page ID # 2303




wrong impression about the length of sentence, it is insufficient to render a
plea involuntary as long as the Court informed the defendant of his
maximum possible sentence. United States v. Granados, 168 F.3d 343, 345
(8th Cir. 1999); see Tinajero-Ortiz, 635 F.3d at 1104-05.

                     POLICY-BASED MOTION FOR VARIANCE
      The defendant's other claim is that counsel was ineffective "when he
did not request a variance due to the fact that other Judges in the Eighth
Circuit have policy disagreements with the methamphetamine guidelines as
being excessively harsh in violation of Kimbrough v. United States, 552 U.S.
85 (2007)." Filing 509 at 46. The defendant says that he "finds it peculiar that
an attorney from the District of Nebraska would be unaware of the
Kimbrough line of authority with respect to policy disagreements and how
Eighth Circuit district court judges are varying from these excessively harsh
methamphetamine sentences." Filing 509 at 50. And he asserts that had the
Court been "made aware of the sentencing practices of other courts, especially
in the same circuit," the Court would have imposed a lesser sentence. Filing
509 at 51.
      This claim has no merit. The Court is, and was, well-aware of its
authority to categorically reject a Guideline based upon policy grounds. See
United States v. Abraham, 944 F. Supp. 2d 723, 727-28 (D. Neb. 2013) (citing
Kimbrough, 552 U.S. at 109). But the undersigned has repeatedly refused to
reject the methamphetamine guideline, despite being invited to do so. See
United States v. Munoz-Ramon, No. 8:13-CR-244 (D. Neb. filed Sept. 17 and
Nov. 24, 2014), aff'd, 614 F. App'x 857 (8th Cir.), cert. denied, 136 S. Ct. 700
(2015); see also, United States v. Carlos, No. 4:14-CR-3109 (D. Neb. filed July
21, 2015); United States v. Gallegos Loaiza, No. 4:13-CR-3130 (D. Neb. filed
July 8, 2015). Counsel did not perform deficiently in failing to make this
argument, but even if he had, there is no possibility the defendant was
prejudiced.

                                 CONCLUSION
       The defendant's allegations either entitle him to no relief, or are
contradicted by the record. Accordingly, his § 2255 motion will be summarily
dismissed. A movant cannot appeal an adverse ruling on his § 2255 motion
unless he is granted a certificate of appealability. 28 U.S.C. § 2253(c)(1); Fed.
R. App. P. 22(b)(1). A certificate of appealability cannot be granted unless the
movant "has made a substantial showing of the denial of a constitutional
right." 28 U.S.C. § 2253(c)(2). To make such a showing, the movant must
demonstrate that reasonable jurists would find the Court's assessment of the



                                      -6-
4:13-cr-03130-JMG-CRZ    Doc # 541   Filed: 10/31/16   Page 7 of 7 - Page ID # 2304




constitutional claims debatable or wrong. Tennard v. Dretke, 542 U.S. 274,
282 (2004); see also Gonzalez v. Thaler, 132 S. Ct. 641, 648 (2012).
      In this case, the defendant has failed to make a substantial showing of
the denial of a constitutional right. The Court is not persuaded that the
issues raised are debatable among reasonable jurists, that a Court could
resolve the issues differently, or that the issues deserve further proceedings.
Accordingly, the Court will not issue a certificate of appealability.

      IT IS ORDERED:

      1.    The defendant's pro se motion to vacate under 28 U.S.C. §
            2255 (filing 509) is denied.

      2.    The Court will not issue a certificate of appealability in this
            matter.

      3.    A separate judgment will be entered.

      4.    The Clerk is directed to mail a copy of this Memorandum
            and Order to the defendant at his last known address.

      Dated this 31st day of October, 2016.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge




                                      -7-
